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 1                              UNITED STATES DISTRICT COURT

 2                                   DISTRICT OF NEVADA

 3
     UNITED STATES OF AMERICA,                         Case No. 2:14-cr-00183-KJD-PAL
 4
                   Plaintiff,                          ORDER
 5
            v.
 6
     MARIA MARCELA GUZMAN-CEBALLOS,
 7
                   Defendant.
 8
 9
10          IT IS THEREFORE ORDERED that the Compassionate Release Supplement deadline

11   currently scheduled for Tuesday, December 22, 2020, be vacated and continued to

12    January 19, 2021 at the hour of ___:___
     ________________                  4 00 __.m.;
                                              p    or to a time and date convenient to the court.

13          IT IS FURTHER ORDERED that the Government’s Response to the Supplement for

14   Compassionate Release be fourteen (14) days after the filing of Defendant’s Motion.

15          DATED this 28th
                       ___ day of December, 2020.

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                                                 UNITED STATES DISTRICT JUDGE
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